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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

DAVID ECHOLS, STANLEY DOVE,             *
ALEX MATHEWS, JAMES DOVE d/b/a
Trinity Farm, TERESA DOVE d/b/a         *
Trinity Farm, SANDRA WHITE
d/b/a BMW Farms, BILLY WHITE,           *
SR. d/b/a BMW Farms, and BILLY
WHITE, JR. d/b/a BMW Farms,             *
                                                  CASE NO. 3:18-CV-100 (CDL)
      Plaintiffs,                       *

vs.                                     *

PILGRIM’S PRIDE CORPORATION,            *

      Defendant.                        *


                                 O R D E R

      Americans eat a lot of chicken.            It is estimated that we each

consume on average      ninety-three pounds of chicken per year.1

According to a recent survey, nearly nine in ten consumers purchase

chicken regularly.2     It is big business for chicken farmers and

processors.    In recent years, we consumers have demanded chickens

that are not pumped full of antibiotics.               And the large chicken

processing companies have strived to meet that demand.                   These

antibiotic-free     chickens     must       be    raised   differently    than

antibiotic-treated ones.       These changes give rise to this lawsuit.



1
      See   National    Chicken    Council,     Survey    Shows            U.S.
Chicken    Consumption     Remains    Strong     (July    24,            2018),
https://www.nationalchickencouncil.org/survey-shows-us-chicken-
consumption-remains-strong/.
2 Id.




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     Defendant Pilgrim’s Pride Corporation is a poultry company.

It contracted with Plaintiffs to grow chickens for its Athens,

Georgia processing facility.        Plaintiffs’ operations were designed

to raise healthy and safe-to-eat chickens, using antibiotics as

part of the process.       Defendant’s customers began demanding “No

Antibiotics Ever” (“NAE”) chicken.             Plaintiffs’ facilities were

inadequate    for   growing   these    chickens,     so   Defendant    notified

Plaintiffs that they must upgrade their facilities to grow NAE

chickens.     When Plaintiffs failed to do so, Defendant terminated

its contracts with them.           Plaintiffs then brought this action,

alleging claims for breach of contract, fraud, breach of fiduciary

duty, regulatory violations, and promissory estoppel.                 Defendant

moved to dismiss (ECF No. 12) pursuant to Federal Rule of Civil

Procedure     12(b)(6).       In    addition    to   seeking   dismissal    of

Plaintiffs’    claims, Defendant seeks disqualification of their

counsel based upon his partner’s past representation of Defendant

(ECF No. 27).       For the following reasons, Defendant’s motion to

dismiss and motion to disqualify counsel are denied.

                                    STANDARD

     “To survive a motion to dismiss” under Federal Rule of Civil

Procedure 12(b)(6), “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’”           Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570


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(2007)).        The    complaint     must   include     sufficient     factual

allegations “to raise a right to relief above the speculative

level.”    Twombly, 550 U.S. at 555.         In other words, the factual

allegations must “raise a reasonable expectation that discovery

will reveal evidence of” the plaintiff’s claims.             Id. at 556.   But

“Rule   12(b)(6)      does   not   permit   dismissal   of   a   well-pleaded

complaint simply because ‘it strikes a savvy judge that actual

proof of those facts is improbable.’”           Watts v. Fla. Int’l Univ.,

495 F.3d 1289, 1295 (11th Cir. 2007) (quoting Twombly, 550 U.S. at

556).

                             FACTUAL ALLEGATIONS

     Plaintiffs alleged the following facts in support of their

claims, which the Court accepts as true for purposes of the pending

motion:

I.   Broiler3 Production Agreements

     Defendant operates two hatcheries, a feed mill, and a chicken

processing plant near Athens. Compl. ¶ 22, ECF No. 1. Defendant’s

Athens plant processes approximately 391 million pounds of chicken

each year.    Id. ¶ 23.      Defendant controls virtually all aspects of

broiler production, except for growing the broilers.                 Id. ¶ 20.

Instead,     under    Defendant’s    standard   contractual      arrangement,



3 “Broilers” are young chickens bred for meat. Compl. ¶ 17. The term
is universally used in the chicken business, perhaps because the
euphemistic, “growing broilers for production,” is more palatable than
the potentially insensitive, “raising baby chicks for slaughter.”


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Defendant   provides     chicks,   feed,     medicine,   chicken   catching

services,   veterinary    services,       other   technical   services,   and

supervision to poultry growers, like Plaintiffs.              Id. ¶ 21.    In

turn, growers provide the housing, utilities, labor, and care

necessary to raise the broilers, known as “grow-out services.”

Id. ¶ 24.   Defendant classifies each grower’s chicken houses into

one of four categories: “unimproved,” “improved,” “Class AA,” and

“Class AAA.”   Id. ¶ 29.     A grower’s pay is determined in part by

the classification of their chicken houses.           Id.

     Defendant entered a “Broiler Production Agreement” (“BPA”)

with each Plaintiff to provide grow-out services for the Athens

facility.    The BPAs provided, “[e]xcept for cause or economic

necessity, [Defendant] will not terminate this Agreement and its

Exhibits without first requiring Independent Grower to follow the

‘Cost Improvement Program.’”       2016 Form BPA 1, ¶ E, ECF No. 1-9.4

In the “Responsibilities of the Company” section, the BPA obligated

Defendant to: (1) provide Plaintiffs “chicks placed from the

hatchery without bias in their selection;” (2) provide Plaintiffs

“the feed necessary to produce the broilers;” and (3) “provide the

labor and equipment necessary to catch and load the broilers.”

Id. at 2, ¶ G(1)-(2), (4).          In the “Responsibilities of the




4
  Plaintiffs’ Complaint alleges that each grower signed a slightly
different variant of Defendant’s form BPA. The material provisions for
purposes of this motion, however, are the same.


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Independent Grower” section, the BPAs obligated Plaintiffs to:

(1) “provide and maintain proper housing . . . in accordance with

the    Company’s    specifications;”           (2) “follow . . . the        Company’s

written     and     verbal      management         recommendations”         regarding

“brooding”     and     “house      environment;”          and   (3) comply         with

Defendant’s “animal welfare program.”                 Id. at 2-3, ¶ H(1)-(2),

(8).    The BPAs further required both parties “to use their best

efforts in maintaining the broilers in such a manner that optimizes

uniformity,       health,    livability,        and   the    performance     of     the

broilers to market age.”           Id. at 3, ¶ I(1).

II.    February 2017 “No Antibiotics Ever” Letter

       In February 2017, Defendant sent a letter to its non-AAA

growers,    including       Plaintiffs,        explaining    that    “the   meat    and

poultry preference of a large number of consumers worldwide has

shifted to animals raised without antibiotics.”                     Compl. ¶ 46; id.

Ex. B, Letter from A. Hall & J. Aaron to Independent Growers 1

(Feb. 14, 2017), ECF No. 1-4 [hereinafter “NAE Letter”]. Defendant

explained that it was transitioning its Athens facility “to NAE

(No Antibiotics Ever) poultry production which will require a more

stable and controlled house environment than has been required in

the past.”        NAE Letter 1.       Therefore, Defendant demanded that

Athens growers either upgrade their existing housing or build new

housing to Class AAA standards.                   Compl. ¶¶ 46-47.          Defendant

explained    that    base    pay   would       increase     accordingly     and    that


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impacted growers could contact Defendant to receive a sample copy

of the BPA for Class AAA houses.                   NAE Letter 1.    Defendant gave

impacted growers like Plaintiffs until June 30, 2017 to decide

whether to upgrade.          Id.     Defendant stated it would terminate the

current BPAs for growers who did not intend to upgrade or build

new housing.         Id.    Conversion of the Athens Complex to NAE had

already been in the works for over a year when Defendant sent the

letter.    Compl. ¶¶ 49-51.5

      Plaintiffs allege that after Defendant sent the letter, it

implemented      a    strategy       to    discourage    impacted      growers   like

Plaintiffs from making the upgrades.                    Id. ¶ 54.       Defendant’s

strategy consisted of the following tactics: (1) reducing bird

density so Plaintiffs could grow fewer broilers; (2) allowing

Plaintiffs to run out of feed; (3) modifying pickup times after

Plaintiffs had prepared for catching; (4) providing lower quality

chicks; and (5) prohibiting euthanasia of chicks within the first

seven   weeks.        Id.    ¶¶ 53,       57-58.      This   conduct    caused   bird

shrinkage, thus reducing Plaintiffs’ profits and restricting their

ability to access capital for the required AAA upgrades.                     See id.

¶¶ 85-86 (describing Echols’s reduced bird density); ¶¶ 114-115,

118     (describing         Dove’s        reduced     bird   density      and    feed


5
  Several months later, the United States Department of Agriculture
(“USDA”) commenced an investigation into Defendant’s NAE transition
actions. In December 2017, the USDA issued a notice of violation of
several of its regulations based on the February 2017 letter. See Compl.
¶¶ 206-208.


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deficiencies);       ¶¶ 133-135        (describing       Mathews’s       reduced   bird

density);    ¶¶ 155-157       (describing        Trinity     Farm’s      reduced   bird

density); ¶¶ 187-190, 193 (describing BMW Farms’s reduced bird

density     and    feed     deficiencies).            Defendant        also   increased

Plaintiffs’       “downtime”    between        flocks,     thus   further      reducing

Plaintiffs’       profit.      Id.     ¶ 87    (Echols);       ¶ 116    (Dove);    ¶ 136

(Mathews); ¶ 158 (Trinity Farm); ¶ 192 (BMW Farms).                           Defendant

also never offered any Plaintiff the opportunity to grow for its

Gainesville       complex,     which    still       produced    non-NAE       chicks   in

improved or AA housing.           Id. ¶ 90 (Echols); ¶ 119 (Dove); ¶ 141

(Echols); ¶ 162 (Trinity Farm); ¶ 204 (BMW Farms).

III. Plaintiffs’ Farms

     A.     David Echols

     Plaintiff David Echols owns four “improved” chicken houses.

Id. ¶¶ 59, 64.      He started growing broilers for Defendant sometime

before 2013.        Id. ¶ 62.        He was an above-average grower.                   Id.

¶¶ 65-66.         Before      receiving       the    NAE    letter,      he    invested

substantially in his chicken houses with the expectation he would

continue to grow broilers for Defendant for years to come.                             See

id. ¶¶ 67-74 (describing Echols’s infrastructure spending and

tractor purchase).          Echols signed a new BPA in February 2017.                  Id.

¶ 75. In September 2017, Defendant terminated Echols’s BPA because

of “new housing specifications being implemented in the Athens

Complex to meet the requirements of NAE production.”                          Id. ¶ 88;



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see also id. Ex. E, Letter from A. Hall & J. Aaron to D. Echols

(Sept. 4, 2017), ECF No. 1-7.

      B.     Stanley Dove

      Plaintiff Stanley Dove owns four “improved” chicken houses.

Id. ¶¶ 92, 94.     He first grew broilers for Defendant’s predecessor

entities in 1989, and grew directly for Defendant beginning around

2003.      Id. ¶ 93.    Dove was an above-average grower.            Id. ¶¶ 95-

97.   Before receiving the NAE letter, he invested substantially in

his chicken houses with the expectation he would continue to grow

broilers for Defendant for years to come.                 Id. ¶¶ 98-101.       He

signed a BPA in May 2017.        Id. ¶ 103.        In October 2017, after Dove

received the NAE letter, he asked Defendant to stop delivering

chicks because of Defendant’s unfair practices.               Id. ¶ 117.

      C.     Alex Mathews

      Plaintiff Alex Mathews owns three “improved” chicken houses.

Id.   ¶¶ 121,    123.       He   first   grew      broilers   for   Defendant’s

predecessor entities in 1989, and grew directly for Defendant

beginning around 2003. Id. ¶ 122. He was an above-average grower.

Id.   ¶ 124.      Before    receiving        the   NAE   letter,    he   invested

substantially in his chicken houses with the expectation he would

continue to grow broilers for Defendant for years to come.                    Id.

¶¶ 125-128.     Mathews signed a BPA similar to the 2016 form BPA.

Id. ¶ 129. In July or August 2017, after receiving the NAE letter,




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he told Defendant to stop delivering chicks because of Defendant’s

uncompensated reduced bird density.           Id. ¶ 138.

        D.   Trinity Farm

        James and Teresa Dove, doing business as Trinity Farm, own

two “improved” chicken houses.             Id. ¶¶ 143, 145.    Trinity Farm

first grew broilers for Defendant’s predecessor entities in 1990,

and grew directly for Defendant beginning around 2003.            Id. ¶ 144.

Trinity Farm was an above-average grower.              Id. ¶ 146.         Before

receiving the NAE letter, Trinity Farm invested substantially in

its chicken houses with the expectation it would continue to grow

broilers for Defendant for years to come. Id. ¶¶ 147-151. Trinity

Farm signed numerous BPAs over the years.             Id. ¶ 152.     Trinity

Farm concluded the costs of the required upgrades in the NAE letter

were too high.      Id. ¶ 154.    Defendant stopped delivering chicks to

Trinity Farm in February 2018.         Id. ¶ 160.

        E.   BMW Farms

        Sandra White, Billy White, Sr., and Billy White, Jr., doing

business as BMW Farms, purchased a farm with eight chicken houses

in 2007 and started growing broilers for Defendant.              Id. ¶¶ 164,

166.6    Defendant classified BMW Farms’s houses as both “improved”

and “Class AA.”      Id. ¶ 170.    BMW Farms executed a BPA in 2014, and

perhaps on a subsequent occasion prior to February 2017.                     Id.


6
  The farm actually contained eleven houses, but Defendant refused to
place flocks in three of the older houses because BMW Farms was unwilling
to make Defendant’s requested upgrades. Compl. ¶ 168.


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¶ 172.     Before receiving the NAE letter, BMW Farms invested

substantially in its chicken houses with the expectation it would

continue to grow broilers for Defendant for years to come.                   Id

¶¶ 174-178.

      After receipt of the NAE letter, Billy White, Jr. spoke with

Defendant’s broiler manager for the Athens complex to request more

time to make the required upgrades.                  Id. ¶ 180.      During the

conversation, Defendant and BMW reached an agreement that BMW would

upgrade six of its houses by the end of 2017 and the remaining two

houses   within   the   next    year,    with   no    interruption    in   chick

placement by Defendant.        Id. ¶¶ 180-181.        BMW Farms then invested

substantially to upgrade six of their houses to AAA standard.                Id.

¶¶ 183-185.   Defendant then informed BMW it had “written off” the

remaining two houses and would not continue to place chicks in

those houses, thus decreasing BMW’s income during the upgrade

process.    Id. ¶ 199.         Because of Defendant’s reneging on the

agreement, the severe financial impact of the upgrades to six

houses, decreased bird density, and decreased downtime between

flocks, BMW Farms stopped growing for Defendant.             Id. ¶ 203.

                     MOTION TO DISMISS DISCUSSION

      Plaintiffs contend Defendant breached the BPAs in two ways:

(1) wrongfully terminating the BPAs without cause and (2) failing

to fulfill their responsibilities under the BPAs. Plaintiffs bring

the   following    additional       claims:      (1) violations       of    USDA


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regulations promulgated pursuant to the Packers and Stockyards Act

(“PSA”), 7 U.S.C. § 209(a); (2) violations of 7 U.S.C. §§ 192(a)-

(b) of the PSA; (3) violations of the Georgia Uniform Deceptive

Trade Practices Act (“UDTPA”), O.C.G.A. §§ 10-1-370 et seq.; (4)

breach of fiduciary duty under O.C.G.A. § 23-2-58; (5) violations

of O.C.G.A. § 51-1-6 for breach of statutory or common law duties

and    § 51-1-8   for   breach   of   statutory   or   contractual    duties;

(6) promissory estoppel claim for BMW Farms only; (7) attorneys’

fees     under    O.C.G.A. § 13-6-11;      and    (8) punitive        damages.

Defendant moved to dismiss all of Plaintiffs’ claims.              The Court

addresses these claims in turn.

I.     Count One: Breach of Contract (Wrongful Termination)

       Plaintiffs   allege   that     Defendant   breached   the      BPAs   by

terminating the agreements without cause.              Defendant moves to

dismiss this state law breach of contract claim because it properly

terminated    the   BPAs   for   cause—Plaintiffs’     failure   to    provide

housing and services according to Defendant’s specifications.

Defendant also argues that Plaintiffs waived these claims.                   As

explained below, the Court finds that Plaintiffs have alleged

adequate facts, which must be accepted as true at this stage of

the litigation, that would excuse Plaintiffs’ failure to provide

adequate NAE broiler housing and services and that would support

a breach of contract claim.




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       A.     Breaches by Plaintiffs

       Defendant contends Plaintiffs’ refusals to upgrade constitute

a breach of the BPA provisions requiring them to maintain proper

housing in         accordance with Defendant’s specifications, follow

Defendant’s         recommendations      regarding       brooding       and    house

environment, comply with Defendant’s animal welfare program, and

use their best efforts to optimize the broilers’ performance.

Thus, Defendant argues it had sufficient “cause” to exercise their

termination rights under the BPAs and that Plaintiffs’ wrongful

termination claims against it must therefore fail.

       The Court agrees with Defendant’s interpretation of the BPAs

as it relates to housing specifications.                 The agreement plainly

states      that    Plaintiffs   shall        “provide   and    maintain      proper

housing . . . in accordance with the Company’s specifications.”

When Defendant modified its production model to produce more NAE

broilers, it had to change the way those broilers were raised.

And it had the authority to require its growers to accommodate

those       changes    by   upgrading    their     facilities         according   to

Defendant’s specifications.           There is no qualifier on the type of

specifications Defendant may mandate.               The BPAs do not indicate

that they are subject to negotiation.               The parties agreed in the

BPAs     that      Plaintiffs    were    required        to    meet     Defendant’s

specifications.        When Defendant specified that the growers must

improve facilities to grow NAE broilers, Plaintiff had no choice


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but to comply if they wished to continue to grow chickens for

Defendant.

     If that were the end of the story (or the extent of the

allegations), Plaintiffs’ breach of contract claim based upon

wrongful termination of the BPAs would have to             be summarily

dismissed because Plaintiffs indisputably failed to do what the

contract required, i.e., construct NAE-specific housing.               And a

failure to do what the contract required would certainly constitute

good cause for termination.     But Plaintiffs allege that Defendant

hatched a more nefarious plot.     They maintain that Defendant never

wanted them to upgrade to produce NAE broilers; they in fact wanted

to get rid of them.    So, according to Plaintiffs’ assumed-to-be-

true complaint, Defendant prevented Plaintiffs from complying with

the specifications that Defendant imposed on them.        And they argue

that even if Defendant had the contractual right to impose those

specifications, it did not have good cause to terminate the

contracts when it had impeded Plaintiffs’ compliance with them.

     Plaintiffs are entitled to develop the factual record on this

theory.   They have alleged enough to avoid dismissal at this stage

of the proceedings.     Defendant’s motion to dismiss Plaintiffs’

breach of contract claim based upon wrongful termination of the

BPAs is denied.




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      B.   Waiver

      Defendant   argues    that   even   if   it   breached    the   BPAs   by

terminating them without cause, Plaintiffs waived these claims by

instructing Defendant to stop delivering chicks.           While Defendant

will certainly have the opportunity to assert this affirmative

defense, the Court finds it inappropriate to dismiss Plaintiffs’

Complaint pursuant to Rule 12(b)(6) on this ground, particularly

when Plaintiff has alleged facts that may create a factual dispute

with regard to this defense.          See Twin City Fire Ins. Co. v.

Hartman, Simons & Wood, LLP, 609 F. App’x 972, 976 (11th Cir. 2015)

(per curiam) (explaining that waiver is an affirmative defense and

that a plaintiff is “not required to negate an affirmative defense

in [its] complaint” (alteration in original) (quoting La Grasta v.

First Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004))).7

II.   Count Two: Breach of Contract (Company Responsibilities)

      Plaintiffs allege Defendant further breached the BPAs by

failing    to   fulfill    its   obligations    outlined       in   the   BPA’s


7
  Defendant also argues that Plaintiffs’ claims should be dismissed to
the extent they rely on Defendant’s violation of 9 C.F.R. § 201.217.
That regulation enumerates several criteria the Secretary of Agriculture
may consider when determining whether a company like Defendant provided
contract growers like Plaintiffs “a reasonable period of time to remedy
a breach of contract that could lead to contract termination.”
9 C.F.R. § 201.217.    Whether Defendant violated this regulation is
irrelevant at this stage to determine whether Plaintiffs have alleged
sufficient facts to prevail on their breach of contract claims.
Accordingly, the Court does not address this argument. Additionally,
because the Court concludes Plaintiffs have sufficiently alleged
Defendant terminated their BPAs without cause, the Court need not address
whether Defendant complied with the 90-day written notice of termination
requirement.


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“Responsibilities        of    the      Company”      section.        Specifically,

Plaintiffs allege that after sending the NAE Letter, Defendant

delivered inferior chicks, did not provide the “necessary” feed,

did not provide the “necessary” equipment and labor for pickup,

and did not use its “best efforts” to assist in growing the

broilers,    all   in    violation        of   the   clear   terms    of   the   BPAs.

Plaintiffs contend that Defendant’s failure to comply with these

obligations was done purposefully to assure that Plaintiffs could

not upgrade their facilities as demanded by Defendant.                     Defendant

responds that it had broad discretion in how to fulfill these

obligations.       Defendant is correct, but that discretion was not

unbridled.     It could not abuse that discretion, which is what

Plaintiffs allege was done.               Plaintiffs have alleged sufficient

facts to support a state law breach of contract claim.                     Therefore,

Defendant’s motion to dismiss on this ground is denied.

III. Counts Three and Four: PSA Claims

     Plaintiffs contend that Defendant terminated their BPAs in

violation of the PSA.         Section 192(a) of the PSA prohibits poultry

processors    from      engaging     in    or   using    any    “unfair,    unjustly

discriminatory,          or     deceptive            practice        or     device.”

7 U.S.C. § 192(a).        Section 192(b) prohibits poultry processors

from subjecting “any particular person or locality to any undue or

unreasonable       prejudice       or      disadvantage        in    any   respect.”

Id. § 192(b).      The PSA further grants the Secretary of Agriculture


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authority to “make such rules, regulations, and orders as may be

necessary to carry out the provisions” of the Act.               Id. § 228(a).

Here,    Plaintiffs    contend     Defendant   violated      both     the   above

statutory      provisions    and    the     following     PSA       regulations:

9 C.F.R. § 201.53      (“Misleading       Report   Rule”);      id.    § 201.100

(“Record Furnishing Rule”); id. § 201.216 (“Additional Capital

Investments Rule”); and id. § 201.217 (“Notice and Right to Cure

Rule”).8

     Defendant seeks dismissal of Plaintiffs’ PSA claims for three

reasons.     First, it argues that the PSA does not provide a private

right of action for violation of regulations promulgated pursuant

to the statute.     Second, it maintains that an essential element of

Plaintiffs’ PSA claims is a showing that Defendant’s violations of

the statute or the regulations had an anticompetitive impact, and

Plaintiffs have failed to adequately allege such facts. And third,

Defendant contends that it had legitimate business reasons for its

conduct.    The Court addresses these grounds for dismissal in turn.

     A.      Plaintiffs Have Standing to Assert Regulatory Claims

     The PSA      states: “If any person subject to this chapter

violates any of the provisions of this chapter, or of any order of

the Secretary [of Agriculture] under this chapter . . . relating


8
   Plaintiffs mistakenly reference 9 C.F.R. § 201.200(a) in their
Complaint. See Compl. ¶¶ 274, 290(f). That regulation governs the sale
of “livestock” to a packer on credit.    Plaintiffs explain in their
response that they intended to reference § 201.100 and its provisions
regarding contract termination.


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to any poultry growing arrangement . . . he shall be liable to the

person or persons injured thereby for the full amount of damages

sustained in consequence of such violation.”                 7 U.S.C. § 209(a).

It further states that such liablity may be enforced “by suit in

any district court of the United States.”                  Id. § 209(b).      Thus,

the PSA explicitly provides a private right of action for persons

injured by violations of the statute or an order of the Secretary.

      Defendant argues that while Congress may have provided a

private right of action for violations of the statute or the

Secretary’s order, it did not extend that right to claims based

upon alleged violations of regulations promulgated pursuant to the

statute.     Defendant’s argument cannot be reconciled with Supreme

Court precedent.        See Alexander v. Sandoval, 532 U.S. 275, 284

(2001) (noting that “[a] Congress that intends the statute to be

enforced     through       a     private     cause   of    action   intends    the

authoritative interpretation of the statute to be so enforced as

well” and that it is therefore “meaningless to talk about a

separate cause of action to enforce the regulations apart from the

statute”);     see     also       Global     Crossing     Telecomms.,   Inc.    v.

Metrophones Telecomms., Inc., 550 U.S. 45, 54 (2007) (“[T]o violate

a regulation that lawfully implements [a statute’s] requirements

is   to   violate    the       statute.”).      Accordingly,    Plaintiffs     have

standing to assert claims for violations of the PSA and the




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regulations promulgated thereunder.          Defendant’s motion to dismiss

on this ground is denied.

     B.    Plaintiffs Have Adequately Pled Harm to Competition, as
           Required by the PSA

     Defendant is correct that for Plaintiffs to prevail on their

PSA claims, they must show that the violations adversely affected,

or were likely to adversely affect, competition.               See London v.

Fieldale Farms Corp., 410 F.3d 1295, 1303 (11th Cir. 2005) (holding

that “to succeed on a claim under the PSA, a plaintiff must show

that the defendant’s unfair, discriminatory or deceptive practice

adversely affects or is likely to adversely affect competition”).9

Plaintiffs’ argument that London has been abrogated by subsequent

regulatory   decision-making     by   the    Secretary    is    unpersuasive.

Furthermore,   Plaintiffs’     contention      that    they    must    show   an

anticompetitive impact for only some of their PSA claims ignores

the clear language and rationale of the London decision.                      If

Plaintiffs wish to escape London in this Circuit, they must find

a way to enlist the help of the Supreme Court or Congress.

     Defendant seeks dismissal of Plaintiffs’ PSA claims because

Plaintiffs   have   not   adequately       alleged    facts   that    plausibly

suggest that Defendant’s alleged violations adversely affected, or

were likely to adversely affect, competition.           Plaintiffs’ burden,



9
  Defendant contends Plaintiffs must show “actual” rather than “likely”
harm to competition to prevail on claims for money damages. But this
flies in the face of the express language and facts of London.


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while substantial, is not insurmountable.                 The London decision

provides some guideposts.

       The Eleventh Circuit did not expressly adopt the antitrust

“rule of reason” analysis for PSA claims in London, but it did

identify the following types of evidence relevant to the harm to

competition inquiry in this context: (1) evidence of the total

number of growers in the relevant area; (2) evidence regarding the

percentage       of   the   chicken   market    a    defendant   controls;   and

(3) evidence of plaintiff and defendant’s relative stature in the

chicken industry.           London, 410 F.3d at 1305.        The London court

affirmed the district court’s dismissal of plaintiffs’ PSA claims

based on lack of evidence of these factors, and these factors are

largely the same ones the Eleventh Circuit has identified as

relevant in the rule of reason analysis.                 See Pickett v. Tyson

Fresh Meats, Inc., 420 F.3d 1272, 1286 (11th Cir. 2005) (applying

rule of reason analysis when affirming judgment as matter of law

on plaintiffs’ PSA claims when plaintiff “did not present any

evidence from which a reasonable jury could conclude that [the

defendant]       lacked      pro-competitive        justifications”    for   its

conduct).

       Here, Plaintiffs allege that Defendant is a monopsonist or

part   of   an    oligopsony     in   Madison   and     Oglethorpe    counties.10


10
  A monopsony or oligopsony is a market condition where there is only
one or are only a few buyers for a particular commodity.


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Plaintiffs    also   allege   that   Defendant   is    the   second-largest

poultry producer in the world, while they are smaller family farms.

Plaintiffs further allege that Defendant’s “threatened and actual

wrongful     termination   of   Athens     Complex’s    Impacted   Growers

(including Plaintiffs), reduction in Bird Density, increase in

Downtime, allowing flocks to run out of feed for extended periods

of time[], and inconsistent pick-up times were all aspects of

[Defendant’s]    overall   calculated      strategy . . . to    reduce   NAE

poultry output that would have otherwise been created by conversion

of the Athens Complex and all of its Impacted Growers’ square

footage capacity to NAE.”       Compl. ¶ 234.      Plaintiffs state that

“[s]uch acts or practices, when the Integrator is a monopsony or

part of an oligopsony, will, over time, impact price paid by NAE

end-users and create[] a likelihood of competitive injury within

the NAE poultry market and/or the conventional poultry market.”

Id. ¶ 235.    Thus, Plaintiffs allege that Defendant forced them out

of business and converted its Athens Complex to NAE production in

an effort to reduce supply of NAE and conventional product, thereby

driving demand and increasing price.             The Court finds these

allegations sufficient at this stage to satisfy the PSA requirement

that the alleged violations adversely affected, or were likely to

adversely affect, competition.            Defendant’s motion to dismiss

based on Plaintiffs’ failure to adequately plead their PSA claims

is denied.


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      C.   Valid Business Justifications

      Defendant     argues   that     even   if    Plaintiffs       can    assert

regulatory and statutory claims under the PSA, the claims fail

because Defendant had a valid business justification for its

conduct.   But Plaintiffs have alleged facts plausibly suggesting

that Defendant did not have a legitimate business reason for

engaging in the conduct of which it is accused.               The Court does

not weigh the evidence at the motion to dismiss stage.                    It must

accept Plaintiffs’ factual allegations as true.              Plaintiffs have

sufficiently alleged facts, which if proven, could support a

finding that no procompetitive rationale justified Defendant’s

conduct. Accordingly, Defendant’s motion to dismiss on this ground

is denied.11

IV.   Plaintiffs’ Remaining Claims: Count Five (Georgia Uniform
      Deceptive Trade Practices Act), Count Six (Breach of
      Fiduciary Duty), Count Seven (Tort Claims), Count Eight (BMW
      Farms Promissory Estoppel Claim), Count Nine (Attorneys’ Fees
      and Punitive Damages)

      Defendant’s    arguments      regarding     the   remaining    claims    in

Plaintiffs’    Complaint     sound    more   appropriate      for    a    summary

judgment motion than a motion to dismiss.               Accepting Plaintiffs’

factual allegations to be true, as it must at this stage of the




11 Defendant also summarily asserts that Plaintiffs have alleged
insufficient facts to prove violations of the PSA or the regulations.
The Court has reviewed Plaintiffs’ 84-page, 342-paragraph Complaint and
finds it states sufficient facts to clear the 12(b)(6) hurdle.


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proceedings, the Court denies Defendants’ motion to dismiss these

claims.

                       MOTION TO DISQUALIFY COUNSEL

       Defendant contends Plaintiffs’ lead counsel and his law firm,

Joel McKie of Hall Booth Smith, P.C. (“Hall Booth”), should be

disqualified based on an imputed conflict of interest.                 Another

Hall    Booth   partner,     David        Proctor,   previously    represented

Defendant in litigation involving more than a dozen growers in

Alabama who alleged unfair practices by Defendant.               In the Alabama

litigation,     Proctor   served     as    Defendant’s   local    counsel,   and

Clayton Bailey, Defendant’s lead counsel in this action, served as

Defendant’s lead counsel.          They consulted frequently during the

Alabama litigation.       Defendant thus contends that Proctor’s prior

representation        disqualifies        Hall   Booth   from     representing

Plaintiffs in this case.

I.     Applicable Law

       “The party bringing the motion to disqualify bears the burden

of   proving    the   grounds   for       disqualification.”      Herrmann   v.

GutterGuard, Inc., 199 F. App’x 745, 752 (11th Cir. 2006) (per

curiam). “Because a party is presumptively entitled to the counsel

of his choice, that right may be overridden only if ‘compelling

reasons’ exist.”        Id. (quoting In re BellSouth Corp., 334 F.3d

941, 961 (11th Cir. 2003)).        “A disqualification order ‘is a harsh

sanction, often working substantial hardship on the client’ and


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should therefore ‘be resorted to sparingly.’”           Id. (quoting Norton

v. Tallahassee Mem’l Hosp., 689 F.2d 938, 941 n.4 (11th Cir.

1982)).   Motions to disqualify “should be viewed with caution,” as

they can “be misused as a technique of harassment.”             Ga. Rules of

Prof’l Conduct, R. 1.7 cmt. 15.

       Defendant   contends      Hall   Booth   violated    Georgia   Rule   of

Professional Conduct 1.9(a).12          That Rule states: “A lawyer who has

formerly represented a client in a matter shall not thereafter

represent another person in the same or a substantially related

matter in which that person’s interests are materially adverse to

the interests of the former client unless the former client gives

informed consent, confirmed in writing.”               The parties do not

dispute    that    Proctor    previously     represented    Defendant,     that

Plaintiffs’ interests are materially adverse to Defendant’s, that

Proctor’s duties are imputed to other Hall Booth lawyers under

Rule    1.10(a),    and   that    Defendant     did   not   consent   to     the

representation.      Therefore, the resolution of Defendant’s motion

turns on whether the Alabama litigation is “substantially related”

to this matter.

       The focus of the Court’s substantial relation inquiry “should

be on the precise nature of the relationship between the present




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  Plaintiffs appear to argue that Rule 1.9(b) applies. That rule applies
when a lawyer leaves a firm and seeks to represent a client adverse to
the lawyer’s former firm. That is not the situation presented here.


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and former representations.”               Herrman, 199 F. App’x at 752-53

(quoting Duncan v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,

646 F.2d 1020, 1029 (5th Cir. Unit B 1981)).                    “The court can only

determine if the substantial relationship test has been met ‘when

the moving party delineates with specificity the subject matters,

issues,    and        causes    of   action          presented     in        the     former

representation.’”        Id. at 753 (quoting Cox v. Am. Cast Iron Pipe

Co., 847 F.2d 725, 730 (11th Cir. 1988)). “The moving party has to

show more than the mere fact that as a result of a former

representation, the attorney has knowledge of the moving party’s

practices and procedures.”           Id.

      Comment 3 to Rule 1.9 states: “Matters are ‘substantially

related’ . . . if        they   involve     the      same    transaction        or    legal

dispute    or    if    there    otherwise       is    a     substantial       risk     that

confidential information as would normally have been obtained in

the prior representation would materially advance the client’s

position    in    the    subsequent    matter.”              “In   the       case    of   an

organizational client, general knowledge of the client’s policies

and   practices        ordinarily     will      not       preclude       a    subsequent

representation; on the other hand, knowledge of specific facts

gained in a prior representation that are relevant to the matter

in question ordinarily will preclude such a representation.”                              Ga.

Rules of Prof’l Conduct, R. 1.9 cmt. 3.                   Defendant is not required

to reveal the confidential information learned by Proctor to


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establish    “a    substantial   risk”      that    Proctor    has   confidential

information to use in this matter.            Id.    Instead, “[a] conclusion

about the possession of such information may be based on the nature

of    the   services   the   lawyer    provided      the    former    client   and

information that would in ordinary practice be learned by a lawyer

providing such services.”        Id.

II.    Analysis

       The Alabama litigation and this action are not substantially

related.     The Alabama complaint summarizes the plaintiffs’ claims

as follows: “For several years, the Plaintiffs grew and raised

chickens     for   [Defendant]    based      upon     the     oral   and   written

representations made to them that the Plaintiffs would be paid by

the actual pound per bird (chicken), with more money being paid to

the Plaintiffs for a higher average bird (chicken) weight, and

less money being paid to the Plaintiffs for a lower average bird

(chicken) weight.”       Def.’s Mot. to Disqualify Counsel Ex. 1-A,

Ala. Compl. ¶ 26, ECF No. 27-3.              But instead, according to the

Alabama Plaintiffs, Defendant employed “an undisclosed scheme put

in place by [Defendant’s agent] that ensured Plaintiffs were not

ever paid for the actual weight of their birds (chickens), but

were instead paid on a ‘watered down’ weight basis.”                   Id. ¶ 27;

see also Pl.’s Br. in Opp’n to Def.’s Mot. to Disqualify Ex. M,

Ala. Pretrial Order ¶ 5(c), Adams v. Bradford et al., No. 6:16-

cv-02227-LSC (N.D. Ala. July 28, 2017), ECF No. 35-13 (describing


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same claims).      Based on these allegations, the Alabama Plaintiffs

asserted       four      claims:   (1) fraudulent       misrepresentation;

(2) fraudulent suppression; (3) negligence and wantonness; and

(4) civil conspiracy.        Ala. Compl. ¶¶ 32-42.     Accordingly, at its

core,    the   Alabama    litigation    involved   allegations    of      fraud

claiming that Defendant purposefully cheated the growers out of

what they were due based on manipulation of the broiler weights.

See Pl.’s Br. in Opp’n to Def.’s Mot. to Disqualify Ex. L, Mem. in

Supp. of Defs.’ Mot. to Dismiss 1, No. 6:14-CV-00444-LSC (N.D.

Ala. Mar. 20, 2014), ECF No. 35-12 (“The gravamen of [the Alabama

Plaintiffs’] complaint is that [Defendant’s agents] made oral and

written representations to Plaintiffs about the formula used to

calculate grower pay that were untrue.”).

     In this case, however, Plaintiffs do not dispute whether

Defendant properly calculated the weight of their broilers or

followed the relevant formula to determine their pay.            Plaintiffs

do not assert any fraud-based claims based on their pay schedule.

Indeed, Plaintiffs do not assert any of the same claims in their

Complaint at all.        Plaintiffs do contend, however, that Defendant

engaged in a scheme of decreased bird density, inferior chick

delivery, and irregular feed delivery and catching times after the

February 2017 NAE Letter to depress the Plaintiffs’ pay                     and




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dissuade upgrade.13      But these allegations are different from the

conduct alleged in the Alabama litigation. Those claims were about

misrepresentations regarding grower pay. The claims here are about

the propriety of Defendant’s upgrade demand.          Therefore, Proctor’s

participation in the Alabama litigation does not pose a substantial

risk that Hall Booth has acquired confidential information that

would materially advance their prosecution of the substantively

different claims in this case.        Proctor’s acquisition of knowledge

regarding Defendant’s general approach to grower litigation is not

disqualifying.      See Ga. Rules of Prof’l Conduct R. 1.9 cmt. 3.

The matters are sufficiently dissimilar to permit Hall Booth to

represent Plaintiffs in this case.

III. Contractual Jury Trial Waivers

     The only specific issue Defendant identifies that Proctor

worked on in the Alabama litigation that could be similar here is

the enforceability of the jury trial waivers in the Plaintiffs’

BPAs.     In the Alabama litigation, Proctor successfully filed a

motion to strike the Alabama plaintiffs’ jury demand under Alabama

law based on the same waiver that is included in the Plaintiffs’

BPAs in this action.        Defendant contends it will be prejudiced

because Hall Booth will use Proctor’s knowledge of Defendant’s


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   The Court is unpersuaded by Defendant’s citations to snippets of
deposition testimony from the Alabama litigation. Those excerpts appear
to obliquely address some of these same issues in the Alabama litigation.
But review of the depositions demonstrates the issues are discussed only
as ancillary topics in the numerous depositions taken in those cases.


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strategy    for     enforcing      the    waiver        against    it    during      this

litigation.       The BPAs in this action clearly provide, however,

that Georgia law will govern.             See 2016 Form BPA 4, ¶ 18, ECF No.

1-9 (providing that the laws of the state in which the farm is

located shall govern the interpretation of the contract).                      Because

different law applies, the Court finds that Defendant will not be

prejudiced by Proctor’s involvement on an issue under different

law.    Without deciding the matter, the Court also observes that

Georgia law appears clear on the issue.                  And if that is the case,

it should not be a contested matter.                     See Bank South, N.A. v.

Howard,    444     S.E.2d        799,    800     (Ga.     1994)(“[P]re-litigation

contractual      waivers    of    the    right    to     trial    by    jury   are    not

enforceable in cases tried under the laws of Georgia.”); see also

GE Commercial Fin. Bus. Prop. Corp. v. Heard, 621 F. Supp. 2d 1305,

1308-09 (M.D. Ga. 2009) (recognizing this rule in this Court in

breach of contract claims).

IV.    Summary

       Defendant has failed to carry its burden of showing that the

Alabama action and this action are so substantially related that

Plaintiffs’       choice    of    counsel      should      be     disqualified       from




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participating    in   this   action.       Accordingly,   the   motion   to

disqualify is denied.14

                               CONCLUSION

      As explained above, Defendant’s motion to dismiss (ECF No.

12) and motion to disqualify (ECF No. 27) are denied.           The parties

shall submit a proposed scheduling order within twenty-one days of

today’s Order.   See Rules 16 and 26 Order (Oct. 10, 2018), ECF No.

19.

      IT IS SO ORDERED, this 5th day of April, 2019.

                                         S/Clay D. Land
                                         CLAY D. LAND
                                         CHIEF U.S. DISTRICT COURT JUDGE
                                         MIDDLE DISTRICT OF GEORGIA




14
  If Defendant wishes to pursue an immediate appeal of this issue, it
shall file a motion for a certificate of immediate appeal within 14 days
of today’s Order.     The Court will only consider a request for a
certificate related to the denial of its disqualification motion and not
its motion to dismiss.


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